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                   UNITED STATES COURT OF INTERNATIONAL TRADE




      In Re Section 301 Cases                                               Court No. 21-cv-00052-3JP




                                    NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that, pursuant to Standard Procedure Order No. 21-01 (ECF

No. 1) (“Procedural Order No. 1”) and Rule 75(b) of the Rules of the United States Court of

International Trade, the undersigned request to receive notice of all filings in Master Case No. 21-

cv-00052-3JP. The undersigned are counsel for Roland Corporation U.S., plaintiff in Case No.

21-cv-00440. Exhibit A hereto provides all relevant details requested by USCIT Form 11.1



Date: November 29, 2021                                          Respectfully submitted,

                                                                  /s/ Andrew K. McAllister
                                                                  ANDREW K. MCALLISTER
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1
 Counsel also represents plaintiffs in sixteen other Section 301 cases and, in furtherance thereof, filed a notice of
appearance on February 27, 2021 (ECF No. 224) on the docket of the Master Case. Given that Rule 75 of the Rules
of the U.S. Court of International Trade does not provide for amendments to previously filed notices of appearance
on the basis of adding an action, counsel files this standalone notice of appearance to record its representation of
Roland Corporation U.S. on the docket of the Master Case.
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                                       EXHIBIT A

Case Number                 Case Name                               Party or Parties Represented

              Roland Corporation U.S. v. United             Roland Corporation U.S.
21-cv-00440
              States




                  Exhibit A to Notice of Appearance In Re Section 301 Cases
                                   (Holland & Knight LLP)
